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Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 1 of 25 PageID #:1

       11/17/2021
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   THOMA.SDG IS T R ICT COURT
CLERK , U .S                                                AUSA Patrick Mott (312) 554-9133

                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

   UNITED STATES OF AMERICA
                                                       Case No.: 1:21-cr-00704
                v.                                     M. DAVID WEISMAN
                                                       Magistrate Judge
  ANTHONY JOSEPH CARLSON,
  also known as "A.J.," "Ajay"

                      AFFIDAVIT IN REMOVAL PROCEEDING

         I, DANIEL LATHAM, appearing telephonically before United States Magistrate

  Judge M. DAVID WEISMAN and being duly sworn on oath, state that as a federal law

  enforcement officer I have been informed that ANTHONY JOSEPH CARLSON, also

   known as "A.J." and "Ajay," has been charged by Indictment in the Central District of

   California with the following criminal offenses: conspiracy to commit wire fraud, in

  violation of Title 18, United States Code, Section 1349 (Counts One and Four);

  unauthorized access to a protected computer and obtaining information from that

  computer in furtherance of their conspiracy to commit wire fraud, in violation of Title

   18, United States Code, Sections 1030(a)(2)(c), 1030(c)(2)(B)(i), 1030(c)(2)(B)(ii), and

  2(a) (Counts Two and Five); and aggravated identity theft, in violation of Title 18,

  United States Code, Section 1028A(a)(l), and 2(a) (Counts Three and Six).

         A copy of the Indictment is attached. A copy of the arrest warrant also is

  attached.


                                                         DANIEL LATHAM
                                                         Special Agent
                                                         Federal Bureau of Investigation
Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 2 of 25 PageID #:2




  SUBSCRIBED AND SWORN to by telephone this 17th day of November, 2021.


                                               M. DAVID WEISMAN
                                               United States Magistrate Judge
          Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 3 of 25 PageID #:3


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                                                                              11/09/2021
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                                                                          CENTRAL DISTRICT OF CALIFORNIA


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                                                                            BY: ___________________ DEPUTY




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8                              UNITED STATES DISTRICT COURT

9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                  June 2021 Grand Jury

11   UNITED STATES OF AMERICA,                    CR 2:21-cr-00521-PA

12              Plaintiff,                        I N D I C T M E N T

13              v.                                [18 U.S.C. § 1349: Conspiracy to
                                                  Commit Wire Fraud; 18 U.S.C.
14   ANTHONY JOSEPH CARLSON,                      § 1030(a)(2)(c), (c)(2)(B)(i),
       aka “A.J.,”                                (c)(2)(B)(ii): Unauthorized Access
15     aka “Ajay,” and                            to a Protected Computer to Obtain
     CALVIN ANDREW WESTBERG,                      Information; 18 U.S.C.
16                                                § 1028A(a)(1): Aggravated Identity
                Defendants.                       Theft; 18 U.S.C. § 2(a): Aiding
17                                                and Abetting; 18 U.S.C.
                                                  §§ 981(a)(1)(C), 982, 1030, and
18                                                28 U.S.C. § 2461(c): Criminal
                                                  Forfeiture]
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20         The Grand Jury charges:
21                     INTRODUCTORY ALLEGATIONS AND DEFINITIONS
22         At times relevant to this Indictment:
23   A.    Defendants
24         1.    Defendant ANTHONY JOSEPH CARLSON, also known as (“aka”)
25   “A.J.,” aka “Ajay” (“CARLSON”), was a resident of the Central
26   District of California.
27         2.    Defendant CALVIN ANDREW WESTBERG (“WESTBERG”) was a
28   resident of the District of Minnesota.
          Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 4 of 25 PageID #:4



1    B.    Accounts

2          3.    Facebook, Inc. (“Facebook”), located in Menlo Park,

3    California, operated computers used by subscribers of both the

4    Facebook and Instagram services all over the world in interstate and

5    foreign commerce and communications.

6          4.    Google LLC (“Google”), located in Mountain View,

7    California, operated computers used by subscribers all over the world

8    in interstate and foreign commerce and communications.

9          5.    Microsoft Corporation (“Microsoft”), located in Redmond,

10   Washington, operated computers used by subscribers of the Microsoft,

11   Hotmail and Skype services all over the world in interstate and

12   foreign commerce and communications.

13         6.    AT&T Corporation (“AT&T”) was a telecommunications company

14   headquartered in Dallas, Texas that operated AT&T Wireless.

15         7.    PayPal, Inc. (“PayPal”) operated a worldwide online payment

16   system that supported online money transfers, headquartered in San

17   Jose, California.

18         8.    Coinbase was a company specializing in the exchange of

19   digital currency, headquartered in San Francisco, California.

20         9.    Binance was a Taiwan-based cryptocurrency exchange.

21   C.    Definitions

22         10.   A Subscriber Identity Module (“SIM”) card was a chip

23   located inside a cell phone that stored information identifying and

24   authenticating a cell phone subscriber.             When a cell phone carrier

25   reassigned a phone number from one physical phone to another -- such

26   as when a customer purchased a new phone but wanted to retain the

27   same number -- the carrier switched the assignment of the cell phone

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         Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 5 of 25 PageID #:5



1    number from the SIM card in the old phone to the SIM card in the new

2    phone, a process sometimes called “porting” a number.

3         11.   “SIM swapping” referred to the process of inducing a

4    carrier to reassign a cell phone number from the legitimate

5    subscriber or user’s SIM card to a SIM card controlled by another

6    without the legitimate subscriber or user’s authorization.

7         12.   “Cryptocurrency” was an umbrella term for digital currency

8    in which encryption and blockchain technologies were used to regulate

9    the generation of units of currency and verify the transfer of funds,

10   generally with relative anonymity.            Bitcoin, Ethereum, and Litecoin

11   were all cryptocurrencies.        Some cryptocurrency users maintained

12   online “wallets” with cryptocurrency exchanges such as Coinbase and

13   Binance.

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          Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 6 of 25 PageID #:6



1                                          COUNT ONE

2                                    [18 U.S.C. § 1349]

3          13.   The Grand Jury re-alleges and incorporates here paragraphs

4    1 through 12 of the Introductory Allegations and Definitions of this

5    Indictment.

6    A.    OBJECT OF THE CONSPIRACY

7          14.   Beginning on an unknown date, but no later than on or about

8    December 9, 2017, and continuing through at least December 11, 2017,

9    in Los Angeles County, within the Central District of California, and

10   elsewhere, defendant ANTHONY JOSEPH CARLSON, also known as (“aka”)

11   “A.J.,” aka “Ajay” (“CARLSON”), and an unindicted coconspirator

12   (“UICC”), together with others known and unknown to the Grand Jury,

13   knowingly conspired to commit wire fraud, in violation of Title 18,

14   United States Code, Section 1343.

15   B.    MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE

16         ACCOMPLISHED

17         15.   The object of the conspiracy was to be accomplished, in

18   substance, as follows:

19               (a)   Defendant CARLSON and the UICC would identify

20   potential victims who they believed possessed cryptocurrency.

21               (b)   Defendant CARLSON and the UICC would obtain personal

22   identifying information for the victim and the victim’s cell phone

23   number.

24               (c)   With defendant CARLSON listening through his computer,

25   the UICC would call employees at cell phone carrier stores while

26   posing as an employee of the carrier at another local store.                     The

27   UICC would claim that the computer at his purported store was

28   inoperative and that he was with a customer who needed to have their

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          Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 7 of 25 PageID #:7



1    number ported to a new device, and would request that the employees

2    port the number for him.

3                (d)    The UICC would cause the victim’s cell phone number to

4    be SIM swapped by using false information and representations to

5    convince the carrier’s employee to port the number from the victim’s

6    cell phone to a cell phone controlled by defendant CARLSON, the UICC

7    or other coconspirators.

8                (e)    Defendant CARLSON and the UICC would cause password-

9    reset information and codes for the victim’s email account to be sent

10   via text message to the phone controlled by defendant CARLSON, the

11   UICC, or other coconspirators.

12               (f)    Defendant CARLSON and the UICC would then access the

13   victim’s email account, obtain information, and identify the victim’s

14   financial accounts containing cryptocurrency.

15               (g)    Defendant CARLSON and the UICC or other coconspirators

16   would access the victim’s financial accounts and change the

17   passwords.

18               (h)    Defendant CARLSON and the UICC or other

19   coconspirators, while accessing the victim’s financial accounts

20   without authorization and posing as the victim, would request a

21   purchase of cryptocurrency.

22   C.    OVERT ACTS

23         16.   In furtherance of the conspiracy, and to accomplish its

24   object, defendant CARLSON and the UICC, together with others known

25   and unknown to the Grand Jury, on or about the dates set forth below,

26   committed and caused to be committed various overt acts, in the

27   Central District of California and elsewhere, including, but not

28   limited to, the following:

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         Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 8 of 25 PageID #:8



1         Overt Act No. 1:         On or before December 9, 2017, defendant

2    CARLSON and the UICC, or other coconspirators, obtained the cell

3    phone number for Victim 1 and another potential victim, as well as

4    the last four digits of Victim 1’s social security number.

5         Overt Act No. 2:         On December 9 and 10, 2017, with defendant

6    CARLSON listening through his computer, the UICC called employees at

7    various AT&T cellular service stores while himself posing as an AT&T

8    employee, claiming that the computer at the UICC’s store was down and

9    that the UICC was with a customer who needed to have their number

10   ported to a new device, and requested that the employees port the

11   number for him.

12        Overt Act No. 3:         On December 9, 2017, during one of the calls

13   to an AT&T store by the UICC, the UICC provided an AT&T employee with

14   a potential victim’s phone number and address in an unsuccessful

15   attempt to convince the AT&T employee to port the phone number for

16   the potential victim.

17        Overt Act No. 4:         On December 10, 2017, while the UICC was

18   calling various AT&T stores to induce SIM swapping, defendant CARLSON

19   and another unindicted coconspirator communicated via Skype about

20   “the AT&T Method.”

21        Overt Act No. 5:         On December 10, 2017, during one of the

22   calls to an AT&T store by the UICC, the UICC provided an AT&T

23   employee with Victim 1’s cell phone number and the last four digits

24   of Victim 1’s social security number.

25        Overt Act No. 6:         On December 10, 2017, as a result of the

26   UICC’s false and fraudulent representations to the AT&T employee,

27   defendant CARLSON and the UICC caused Victim 1’s cell number to be

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         Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 9 of 25 PageID #:9



1    SIM swapped by convincing that AT&T employee to port the number from

2    Victim 1’s cell phone to a device controlled by defendant CARLSON.

3         Overt Act No. 7:         On December 10, 2017, defendant CARLSON, the

4    UICC, or other coconspirators, requested a password reset of Victim

5    1’s Hotmail account, causing Microsoft to text a password reset code

6    to a cell phone device controlled by defendant CARLSON or other

7    coconspirators.

8         Overt Act No. 8:         On December 10, 2017, after receiving the

9    Microsoft password reset code, defendant CARLSON forwarded the code

10   to the UICC during an online chat between defendant CARLSON and the

11   UICC, so that the UICC or other coconspirators could reset the

12   password of Victim 1’s Hotmail account and access the account without

13   authorization for the purposes of stealing Bitcoin from Victim 1.

14        Overt Act No. 9:         On December 10, 2017, while Victim 1’s

15   Hotmail account was being accessed without authorization, in order to

16   identify Victim 1’s cryptocurrency accounts and to steal

17   cryptocurrency from Victim 1, the UICC stated to defendant CARLSON

18   aloud via Google Hangouts, “What are we looking for?                Bitcoin.”

19        Overt Act No. 10:        On December 10, 2017, defendant CARLSON and

20   the UICC, or other coconspirators, without authorization, then

21   accessed Victim 1’s Hotmail account to identify Victim 1’s

22   cryptocurrency and related financial accounts in order to steal

23   Bitcoin from Victim 1.

24        Overt Act No. 11:        On December 10, 2017, defendant CARLSON and

25   the UICC, or other coconspirators, without authorization, reset

26   Victim 1’s Coinbase account password using two-factor authentication.

27        Overt Act No. 12:        On December 10, 2017, while accessing Victim

28   1’s Coinbase account without authorization, defendant CARLSON and the

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        Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 10 of 25 PageID #:10



1    UICC, or other coconspirators, initiated a request for the purchase

2    of .6333 Bitcoin (then valued at approximately $10,000).

3         Overt Act No. 13:        On December 11, 2017, pursuant to the

4    coconspirators’ fraudulent December 10, 2017 purchase request to

5    Coinbase, defendant CARLSON, the UICC, or other coconspirators caused

6    a transfer of approximately $10,000 to be initiated from Victim 1’s

7    Bank of America account ending in 5471, which was linked to Victim

8    1’s Coinbase account, over which defendant CARLSON and the

9    coconspirators then had control.

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        Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 11 of 25 PageID #:11



1                                         COUNT TWO

2       [18 U.S.C. §§ 1030(a)(2)(C), (c)(2)(B)(i), (c)(2)(B)(ii); 2(a)]

3         17.   On or about December 10, 2017, in Los Angeles County,

4    within the Central District of California, and elsewhere, defendant

5    ANTHONY JOSEPH CARLSON, also known as (“aka”) “A.J.,” aka “Ajay,” and

6    an unindicted coconspirator, each aiding and abetting the other,

7    intentionally accessed a computer without authorization and thereby

8    obtained information from a protected computer, as that term is

9    defined in Title 18, United States Code, Section 1030(e)(2)(B), that

10   is, from the email server(s) of Microsoft Corporation, for the

11   purpose of private financial gain and in furtherance of a criminal

12   act, to wit, conspiracy to commit wire fraud, in violation of Title

13   18, United States Code, Section 1349.

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        Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 12 of 25 PageID #:12



1                                        COUNT THREE

2                          [18 U.S.C. §§ 1028A(a)(1); 2(a)]

3         18.   Beginning on an unknown date, but no later than on or about

4    December 9, 2017, and continuing through at least December 11, 2017,

5    in Los Angeles County, within the Central District of California, and

6    elsewhere, defendant ANTHONY JOSEPH CARLSON, also known as (“aka”)

7    “A.J.,” aka “Ajay” (“CARLSON”), and an unindicted coconspirator, each

8    aiding and abetting the other, knowingly transferred, possessed, and

9    used, without lawful authority, means of identification that

10   defendant CARLSON knew belonged to another person, during and in

11   relation to the offense of conspiracy to commit wire fraud, a felony

12   violation of Title 18, United States Code, Section 1349, as charged

13   in Count One of this Indictment.

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          Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 13 of 25 PageID #:13



1                                          COUNT FOUR

2                                     [18 U.S.C. § 1349]

3           19.   The Grand Jury re-alleges and incorporates here paragraphs

4    1 through 12 of the Introductory Allegations and Definitions of this

5    Indictment.

6    D.     OBJECT OF THE CONSPIRACY

7           20.   Beginning on an unknown date, but no later than on or about

8    December 14, 2017, and continuing through at least January 2, 2018,

9    in Los Angeles County, within the Central District of California, and

10   elsewhere, defendants ANTHONY JOSEPH CARLSON, also known as (“aka”)

11   “A.J.,” aka “Ajay” (“CARLSON”), and CALVIN ANDREW WESTBERG

12   (“WESTBERG”), together with others known and unknown to the Grand

13   Jury, knowingly conspired to commit wire fraud, in violation of Title

14   18, United States Code, Section 1343.

15   E.     MEANS BY WHICH THE OBJECT OF THE CONSPIRACY WAS TO BE

16          ACCOMPLISHED

17          21.   The object of the conspiracy was to be accomplished, in

18   substance, as follows:

19                (a)    Defendants CARLSON and WESTBERG would identify

20   potential victims who they believed possessed cryptocurrency.

21                (b)    Defendants CARLSON and WESTBERG would conduct online

22   research regarding their potential victims.

23                (c)    Defendant CARLSON and/or unknown coconspirators, using

24   false information and pretenses, would engage in SIM swapping in

25   order to take control of a victim’s cell phone number.

26                (d)    Defendants CARLSON, WESTBERG, and/or unknown

27   coconspirators would obtain unauthorized access to the SIM swapping

28   victim’s Facebook account.

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          Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 14 of 25 PageID #:14



1                 (e)    Once they had access, defendants CARLSON, WESTBERG,

2    and/or unknown coconspirators would pose as the SIM swapping victim

3    and communicate with the victim’s friends on Facebook and request

4    cryptocurrency, typically claiming that the cryptocurrency was needed

5    quickly for a business venture and offering to pay a premium because

6    there was not enough time to obtain the cryptocurrency from a

7    traditional exchange.

8                 (f)    While communicating with the SIM swapping victim’s

9    friends, defendants CARLSON and/or WESTBERG would specify

10   cryptocurrency wallets for the receipt of cryptocurrency.

11                (g)    By posing as the SIM swapping victim, defendants

12   CARLSON and/or WESTBERG would cause the SIM swapping victim’s friends

13   to transfer funds into the cryptocurrency wallets that had been

14   specified.

15                (h)    Defendant CARLSON would receive the fraudulently

16   obtained cryptocurrency either directly or indirectly into one of his

17   cryptocurrency wallets.

18                (i)    Defendant CARLSON would transfer a portion of the

19   cryptocurrency to defendant WESTBERG’s cryptocurrency wallets.

20   F.     OVERT ACTS

21          22.   In furtherance of the conspiracy, and to accomplish its

22   object, defendants CARLSON and WESTBERG, together with others known

23   and unknown to the Grand Jury, on or about the dates set forth below,

24   committed and caused to be committed various overt acts, in the

25   Central District of California and elsewhere, including, but not

26   limited to, the following:

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        Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 15 of 25 PageID #:15



1         Overt Act No. 1:         On December 23, 2017, defendant WESTBERG

2    conducted online searches for Victim 2 and visited Victim 2’s Twitter

3    page.

4         Overt Act No. 2:         On December 23, 2017, while Victim 2 was

5    overseas, defendant CARLSON and/or other unknown coconspirators SIM

6    swapped Victim 2’s cell phone number to a phone controlled by

7    defendant CARLSON or another coconspirator.

8         Overt Act No. 3:         On December 23, 2017, defendant CARLSON or

9    other coconspirators caused password reset information and codes for

10   Victim 2’s Facebook account to be sent to defendant CARLSON or

11   another coconspirator.

12        Overt Act No. 4:         Between December 23, 2017 and December 24,

13   2017, defendant WESTBERG accessed, without authorization, Victim 2’s

14   Facebook account.

15        Overt Act No. 5:         On December 23, 2017, defendants CARLSON

16   and/or WESTBERG, posing as Victim 2, and communicating through Victim

17   2’s hacked Facebook account, contacted M.S. about an investment

18   opportunity, asking, “Hey, do you have any bitcoin?               I have a big

19   investor with me looking to get into crypto!,” and offering to pay

20   for the cryptocurrency “plus 10 percent” because the “big investor”

21   could not wait for the transfer to be done through Coinbase.

22        Overt Act No. 6:         On or about December 23, 2017, because M.S.

23   advised he was unable to provide the requested cryptocurrency,

24   defendants CARLSON and/or WESTBERG or other coconspirators contacted

25   Victim 3, a friend of M.S., to request cryptocurrency for the

26   purported business transaction.

27        Overt Act No. 7:         On December 23, 2017, in an effort to prove

28   to Victim 3 that the business opportunity was legitimate and induce

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        Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 16 of 25 PageID #:16



1    Victim 3 to provide cryptocurrency, defendant CARLSON sent a test

2    payment of $1.00 from defendant CARLSON’s PayPal account ending in

3    6281 to Victim 3’s PayPal account.

4         Overt Act No. 8:         On December 23, 2017, after sending the

5    $1.00 test payment, defendants CARLSON and WESTBERG caused Victim 3

6    to send approximately one Bitcoin, then the equivalent of

7    approximately $14,000, to a wallet ending in JVSq.

8         Overt Act No. 9:         On December 23, 2017, posing as Victim 2 and

9    communicating through Victim 2’s hacked Facebook account, defendants

10   CARLSON and/or WESTBERG contacted Victim 4 with a purported business

11   opportunity, and requested cryptocurrency from Victim 4 in exchange

12   for various premiums to be paid back to Victim 4, purportedly in

13   order to avoid waiting for the funds to clear from a traditional

14   cryptocurrency exchange, stating, “Takes 8 days for the exchanges to

15   get it into your wallet. Yes, I have an investor with me that’s

16   willing to pay well. I cant [sic] wait for coinbase.”

17        Overt Act No. 10:        On December 23, 2017, defendants CARLSON and

18   WESTBERG caused Victim 4 to send approximately .30226 Bitcoin, then

19   the equivalent of approximately $4,544.58, to a wallet ending in

20   HDHjy.

21        Overt Act No. 11:        On December 23, 2017, defendants CARLSON and

22   WESTBERG caused Victim 4 to send approximately 13.85255 Litecoin,

23   then the equivalent of approximately $4,003.52, to defendant

24   CARLSON’s Coinbase wallet ending in bR8a8.

25        Overt Act No. 12:        On December 23, 2017, defendants CARLSON and

26   WESTBERG caused Victim 4 to send approximately 3.00063 Ethereum, then

27   the equivalent of approximately $2,124.59, to defendant CARLSON’s

28   Coinbase wallet ending in 60Ba5.

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        Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 17 of 25 PageID #:17



1         Overt Act No. 13:        On December 23, 2017, defendant CARLSON sent

2    a payment of approximately 1.44989 Ethereum, then the equivalent of

3    approximately $1,000.43, from defendant CARLSON’s Coinbase wallet

4    ending in 60Ba5 to defendant WESTBERG’s Coinbase wallet ending in

5    62F5c.

6         Overt Act No. 14:        On December 23, 2017, defendant CARLSON sent

7    a payment of approximately 6.0025506 Litecoin, then the equivalent of

8    approximately $1,670.44, from defendant CARLSON’s Coinbase wallet

9    ending in bR8a8 to defendant WESTBERG’s Coinbase wallet ending in

10   zLaoV.

11        Overt Act No. 15:        On December 23, 2017, defendant WESTBERG

12   sent a payment of approximately 1.0818825 Ethereum, then the

13   equivalent of approximately $750.44, from defendant WESTBERG’s

14   Coinbase wallet ending in 62F5c to defendant CARLSON’s Coinbase

15   wallet ending in 77f88.

16        Overt Act No. 16:        On December 23, 2017, defendants CARLSON and

17   WESTBERG caused Victim 4 to send approximately 6.0025512 Litecoin,

18   then the equivalent of approximately $1,679.69, to defendant

19   CARLSON’s Coinbase wallet ending in WwPis.

20        Overt Act No. 17:        On December 23, 2017, defendants CARLSON and

21   WESTBERG caused Victim 4 to send approximately 1.70063 Ethereum, then

22   the equivalent of approximately $1,174.96, to defendant CARLSON’s

23   Coinbase wallet ending in 6d097.

24        Overt Act No. 18:        On December 23, 2017, defendants CARLSON and

25   WESTBERG caused Victim 4 to send approximately .0287879 Bitcoin, then

26   the equivalent of approximately $412.27, to a wallet ending in 2hUxf.

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        Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 18 of 25 PageID #:18



1         Overt Act No. 19:        On December 23, 2017, defendants CARLSON and

2    WESTBERG caused Victim 3 to send approximately 1 Bitcoin, then the

3    equivalent of approximately $14,715.00, to a wallet ending in yJVSq.

4         Overt Act No. 20:        On December 23, 2017, defendant CARLSON

5    received into his Coinbase wallet ending in WwPis a payment of

6    approximately .001 Ethereum, then the equivalent of approximately

7    $.66, from Victim 4.

8         Overt Act No. 21:        On January 2, 2018, defendant CARLSON

9    received into his Binance wallet ending in bgRBo Victim 3’s and

10   Victim 4’s Bitcoin from the wallets ending in yJVSq, HDHjy and 2hUxf.

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        Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 19 of 25 PageID #:19



1                                        COUNT FIVE

2       [18 U.S.C. §§ 1030(a)(2)(C), (c)(2)(B)(i), (c)(2)(B)(ii); 2(a)]

3         23.   On or about December 23, 2017, in Los Angeles County,

4    within the Central District of California, and elsewhere, defendants

5    ANTHONY JOSEPH CARLSON, also known as (“aka”) “A.J.,” aka “Ajay,” and

6    CALVIN ANDREW WESTBERG, each aiding and abetting the other,

7    intentionally accessed a computer without authorization and thereby

8    obtained information from a protected computer, as that term is

9    defined in Title 18, United States Code, Section 1030(e)(2)(B), that

10   is, from the servers of Facebook, Inc., for the purpose of private

11   financial gain and in furtherance of a criminal act, to wit,

12   conspiracy to commit wire fraud, in violation of Title 18, United

13   States Code, Section 1349.

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        Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 20 of 25 PageID #:20



1                                         COUNT SIX

2                          [18 U.S.C. §§ 1028A(a)(1); 2(a)]

3         24.   Beginning on an unknown date, but no later than on or about

4    December 14, 2017, and continuing through at least January 2, 2018,

5    in Los Angeles County, within the Central District of California, and

6    elsewhere, defendants ANTHONY JOSEPH CARLSON, also known as (“aka”)

7    “A.J.,” aka “Ajay”      (“CARLSON”), and CALVIN ANDREW WESTBERG

8    (“WESTBERG”), each aiding and abetting the other, knowingly

9    transferred, possessed, and used, without lawful authority, means of

10   identification that defendants CARLSON and WESTBERG each knew

11   belonged to another person, during and in relation to the offense of

12   conspiracy to commit wire fraud, a felony violation of Title 18,

13   United States Code, Section 1349, as charged in Count Four of this

14   Indictment.

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        Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 21 of 25 PageID #:21



1                               FORFEITURE ALLEGATION ONE

2               [18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)]

3         1.    Pursuant to Rule 32.2 of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States of America

5    will seek forfeiture as part of any sentence, pursuant to Title 18,

6    United States Code, Section 981(a)(1)(C) and Title 28, United States

7    Code, Section 2461(c), in the event of any defendant’s conviction of

8    the offenses set forth in any of Counts One, Three, Four and Six of

9    this Indictment.

10        2.    Any defendant so convicted shall forfeit to the United

11   States of America the following:

12              (a)    All right, title, and interest in any and all

13   property, real or personal, constituting, or derived from, any

14   proceeds traceable to the offenses; and

15              (b)    To the extent such property is not available for

16   forfeiture, a sum of money equal to the total value of the property

17   described in subparagraph (a).

18        3.    Pursuant to Title 21, United States Code, Section 853(p),

19   as incorporated by Title 28, United States Code, Section 2461(c), any

20   defendant so convicted shall forfeit substitute property, up to the

21   value of the property described in the preceding paragraph if, as the

22   result of any act or omission of said defendant, the property

23   described in the preceding paragraph or any portion thereof (a)

24   cannot be located upon the exercise of due diligence; (b) has been

25   transferred, sold to, or deposited with a third party; (c) has been

26   placed beyond the jurisdiction of the court; (d) has been

27   substantially diminished in value; or (e) has been commingled with

28   other property that cannot be divided without difficulty.

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        Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 22 of 25 PageID #:22



1                               FORFEITURE ALLEGATION TWO

2                              [18 U.S.C. §§ 982 and 1030]

3         1.    Pursuant to Rule 32.2(a) of the Federal Rules of Criminal

4    Procedure, notice is hereby given that the United States will seek

5    forfeiture as part of any sentence, pursuant to Title 18, United

6    States Code, Sections 982(a)(2) and 1030, in the event of any

7    defendant’s conviction of the offenses set forth in either of Counts

8    Two or Five of this Indictment.

9         2.    Any defendant so convicted shall forfeit to the United

10   States of America the following:

11              (a)    All right, title, and interest in any and all

12   property, real or personal, constituting, or derived from, any

13   proceeds obtained, directly or indirectly, as a result of the

14   offense;

15              (b)    Any property used or intended to be used to commit the

16   offense; and

17              (c)    To the extent such property is not available for

18   forfeiture, a sum of money equal to the total value of the property

19   described in subparagraphs (a) and (b).

20        3.    Pursuant to Title 21, United States Code, Section 853(p),

21   as incorporated by Title 18, United States Code, Sections 982(b)(1)

22   and 1030(i), any defendant so convicted shall forfeit substitute

23   property, up to the total value of the property described in the

24   preceding paragraph if, as the result of any act or omission of the

25   defendant, the property described in the preceding paragraph, or any

26   portion thereof: (a) cannot be located upon the exercise of due

27   diligence; (b) has been transferred, sold to or deposited with a

28   third party; (c) has been placed beyond the jurisdiction of the

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        Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 23 of 25 PageID #:23



1    court; (d) has been substantially diminished in value; or (e) has

2    been commingled with other property that cannot be divided without

3    difficulty.

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5                                                  A TRUE BILL
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                                                            /S/
                                                   Foreperson
8

9    TRACY L. WILKISON
     Acting United States Attorney
10

11

12   CHRISTOPHER D. GRIGG
     Assistant United States Attorney
13   Chief, National Security Division

14   CAMERON L. SCHROEDER
     Assistant United States Attorney
15   Chief, Cyber & Intellectual
       Property Crimes Section
16
     LISA E. FELDMAN
17   Assistant United States Attorney
     Cyber & Intellectual Property
18     Crimes Section

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          Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 24 of 25 PageID #:24


                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                    CASE NUMBER: 2:21-cr-00521-PA

                                    PLAINTIFF,                                                           1
                             v.
 ANTHONY JOSEPH CARLSON,
 akas A.J., Ajay                                                WARRANT FOR ARREST
                                    DEFENDANT(S)

 To:      UNITED STATES MARSHAL AND ANY AUTHORIZED UNITED STATES OFFICER

 YOU ARE HEREBY COMMANDED to arrest ANTHONY JOSEPH CARLSON,
 akas A.J., Ajay, and bring him forthwith to the nearest Magistrate Judge to answer an
 Indictment charging him with:
    • 18 U.S.C. § 1349 (Conspiracy to Commit Wire Fraud)
    • 18 U.S.C. § 1030(a)(2)(c) (Unauthorized Access to a Protected Computer)
    • 18 U.S.C. § 1028A(a)(1) (Aggravated Identity Theft)
    • 18 U.S.C. § 2(a) (Aiding and Abetting)




 Kiry K. Gray
 NAME OF ISSUING OFFICER                                       November 9, 2021            Los Angeles, CA
 Clerk of Court
 TITLE OF ISSUING OFFICER                                      DATE AND LOCATION OF ISSUANCE

Dion D. Mitchell                                        By:    ALICIA G. ROSENBERG
 SIGNATURE OF DEPUTY CLERK                                     NAME OF JUDICIAL OFFICER

                                                RETURN

 THIS WARRANT WAS RECEIVED AND EXECUTED WITH THE ARREST OF THE ABOVE-NAMED DEFENDANT AT (LOCATION)




 DATE RECEIVED                                                 NAME OF ARRESTING OFFICER


 DATE OF ARREST                                                TITLE


 DESCRIPTIVE INFORMATION FOR DEFENDANT                         SIGNATURE OF ARRESTING OFFICER
 CONTAINED ON PAGE TWO




CR-12 (08/10)                           WARRANT FOR ARREST                                        Page 1 of 2
            Case: 1:21-cr-00704 Document #: 1 Filed: 11/17/21 Page 25 of 25 PageID #:25


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

 UNITED STATES OF AMERICA,                                            CASE NUMBER: 2:21-cr-00521-PA

                                           PLAINTIFF,                                                                    1
                                 v.
 ANTHONY JOSEPH CARLSON,
 akas A.J., Ajay                                                          WARRANT FOR ARREST
                                           DEFENDANT(S)

                               ADDITIONAL DEFENDANT INFORMATION
 RACE:            SEX:         HEIGHT:           WEIGHT:    HAIR:          EYES:      OTHER:


 YEAR OF BIRTH:                PLACE OF BIRTH:              SOCIAL SECURITY NO.:      DRIVER’S LICENSE NO.   ISSUING STATE

            1997
 ALIASES:                      SCARS, TATTOOS OR OTHER DISTINGUISHING MARKS:


 AUTO YEAR:       AUTO MAKE:   AUTO MODEL:                  AUTO COLOR:               AUTO LICENSE NO.:      ISSUING STATE


 LAST KNOWN RESIDENCE:                                      LAST KNOWN EMPLOYMENT:




 FBI NUMBER:


 ADDITIONAL INFORMATION:




 INVESTIGATIVE AGENCY NAME:                                 INVESTIGATIVE AGENCY ADDRESS:

                           FBI
NOTES:




CR-12 (08/10)                                     WARRANT FOR ARREST                                             Page 2 of 2
